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042575/19344/MHW/EAK

                           U.S. District Court for the Northern District of Illinois
                                         Attorney Appearance Form

Case Title: MICHAEL DAVIS v.                                Case Number:     17-cv-3654
            STATEVILLE PRISON
            GUARD WESAM S. ALI,
            ILLINOIS DEPARTMENT OF
            CORRECTIONS (IDOC),
            NURSE "MARY", and
            WEXFORD HEALTH
            SOURCES, INC
An appearance is hereby filed by the undersigned as attorney for:
                                    WEXFORD HEALTH SOURCES, INC.
Attorney Name (type or print):           Edward A. Khatskin
Firm:                          CASSIDAY SCHADE LLP
Street Address:                222 West Adams Street, Suite 2900
City/State/Zip:                Chicago, IL 60606
Bar ID Number:                 6319840                             Telephone Number: (312) 641-3100
(See Item 3 in instructions)

Email Address:                 ekhatskin@cassiday.com
Are you acting as lead counsel in this case?                               Yes            No
Are you acting as local counsel in this case:                              Yes            No
Are you a member of the court’s trial bar?                                 Yes            No
If this case reaches trial, will you act as the trial attorney?            Yes            No
If this is a criminal case, check your status.                     Retained Counsel
                                                                   Appointed Counsel
                                                                   If appointed counsel, are you a
                                                                       Federal Defender
                                                                       CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by local Rules
83.12 through 83.14. I declare under penalty of perjury that the foregoing is true and correct.
Under 28 U.S.C. § 1746, this statement under perjury has the same force and effect as a sworn
statement made under oath.


                                                                                           Revised 8/1/2015
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Executed on September 17, 2018
Attorney Signature:         s/Edward A. Khatskin
                            (Use electronic signature if the appearance form is filed electronically.)
8942715 EKHATSKI;JBARRETT




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